                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF MISSOURI
                             CENTRAL DIVISION

LEAGUE OF WOMEN VOTERS OF
MISSOURI, et al.,

                Plaintiffs,
                                              Civil Action No. 2:18-cv-04073-BCW
   v.

JOHN R. ASHCROFT,
in his official capacity as the Missouri
Secretary of State, et al.,

                Defendants.


           STIPULATION AND [PROPOSED] ORDER OF DISMISSAL
                 IN LIGHT OF SETTLEMENT AGREEMENT

        Plaintiffs League of Women Voters of Missouri, St. Louis A. Philip Randolph

Institute, and Greater Kansas City A. Philip Randolph Institute and Defendants John R.

Ashcroft, in his official capacity as Missouri Secretary of State, and Kenneth Zellers, in

his official capacity as Director of the Missouri Department of Revenue (collectively,

“Parties”), hereby stipulate and agree as follows:

        WHEREAS, on November 18, 2019, the Parties entered into a Settlement

Agreement fully and finally resolving this action except with respect to Plaintiffs’

application for fees, expenses, and costs, which the Settlement Agreement explicitly

reserved for resolution by this Court; and

        WHEREAS, the Settlement Agreement, attached hereto as Exhibit A, requires the

Parties to jointly request that the Court retain jurisdiction to enforce the terms of the

Settlement Agreement and decide Plaintiffs’ application for fees and costs, but otherwise

dismiss the action with prejudice.



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       THEREFORE, in consideration of the foregoing, the Parties further stipulate and

agree that:

       (1) In accordance with Section XI of the Parties’ Settlement Agreement, the Court

              shall dismiss this action with prejudice, including all claims asserted by

              Plaintiffs against Defendants in this matter. The Court shall also vacate any

              pending deadlines and hearing dates in this matter and lift its Preliminary

              Injunction Order so that Defendants can implement the changes required by

              the Settlement Agreement.

       (2) Without affecting the finality of this order of dismissal, the Court had and

              shall retain jurisdiction over this matter to:

                  (a) Enforce the Settlement Agreement in accordance with its terms for the

                      duration of the Settlement Agreement as set forth in Sections XI and

                      XII; and

                  (b) Decide Plaintiffs’ application for fees and costs pursuant to 52 U.S.C.

                      § 20510(c), which shall be filed on or before January 6, 2020, in

                      accordance with the schedule set by the Court.

       IT IS SO ORDERED.



DATED: _____________                              /s/ _____________________
                                                  JUDGE BRIAN C. WIMES
                                                  UNITED STATES DISTRICT COURT




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                                  App. R. 49(c)(3).




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